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                        IN THE UNITED STATES DISTzuCT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMEzuCA,

                       Plaintift                                     4:21CR3020

       VS.                                                    MOTION FOR WRIT OF
                                                                HABEAS CORPUS
JOHN W. BURTON.                                               AD PROSEQUENDUM

                       Defendant.



       1. The defendant is presently incarcerated in the Western Reception Diagnostic &
Correctional Center, St. Joseph, Missouri, in the custody of the Warden of said facility.

       2. It is necessary that the said defendant be before the Honorable Cheryl R. Zwart for a
hearing beginning on or after May 18,2021, at 2:00 p.m.

       WHEREFORE, the petitioner prays that the Clerk of this Court be ordered to issue a Writ

of Habeas Corpus Ad Prosequendum to the Warden of the Western Reception Diagnostic &

Correctional Center, St. Joseph, Missouri, the Federal Bureau of Investigation, and the United

States Marshals Service for the appearance of said defendant as requested above and for such

other proceedings as the Court may direct.

                                              LINITED STATES OF AMERICA,
                                              Petitioner

                                              JAN W. SHARP
                                              Acting United States AttorneY

                                      By:

                                              STEVEN A. RUS SELL #16925
                                              Assistant U.S. AttorneY
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                                    CERTIFICATE OF SERVICE

          I hereby certifu that on April 30, 2021,I electronically filed the foregoing with the Clerk
of the Court of the United States District Court for the District of Nebraska by using the CM/ECF
system. Participants in the case who are registered CM/ECF users will be served by the CM/ECF
system.

        And I hereby certifu that I have caused this document to be electronically mailed to the
following non CM/ECF participants:




                                                Assistant U.S. Attomey
